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                                                      U.S. Department of Jnstice

                                                      United States Attorney
                                                      Southern District ofNew York




                                                      86 Chambers Street, 3rdjloor
                                                      New York, New York 10007



                                                       April 7, 2025
BYECF
The Honorable Paul A. Engelmayer
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

                   Re:     ACLU et al. v. DOD et al., No. 17 Civ. 3391 (PAE)

Dear Judge Engelmayer:

        This Office represents the defendant agencies ("Defendants") in the above-
captioned lawsuit brought pursuant to the Freedom oflnformation Act ("FOIA"). We
write respectfully on behalf of all parties in response to the Court's order dated March 5,
2025 (ECF No. 215), directing the parties to provide a joint status report on the pending
issue of attorney's fees in this matter. The parties also jointly and respectfully request an
extension of the briefing deadlines entered by the Court in its March 5 order.

        Since the parties' last report, Defendants have made additional progress with
respect to securing approvals of a fully drafted settlement stipulation. Unfortunately, the
process is not yet complete, primarily due to Government counsel's recovery from recent
medical procedures and associated complications, and also recurring challenges in
contacting agency counsel, who have been reassigned numerous times.

        The parties have conferred regarding Defendants' eff01ts to work through the
conclusion of this process. As previously reported, the parties continue to communicate
and work together in good faith to hopefully avert the need to seek the Court's
adjudication of a fees motion, and believe that their current efforts represent the most
efficient path to resolution. In light of these circumstances, the parties jointly and
respectfully seek an extension of the briefing deadlines currently set by the Court. Due to
upcoming obligations and anticipated travel schedules of the patties' counsel, the parties
jointly request that Plaintiffs' deadline to file a motion for attorneys' fees be extended
from April 10, 2025, to May 28, 2025; and Defendants' deadline to respond to that
motion be reset for June 4, 2025.

       The parties thank the Court for its consideration of this matter.
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                                                   Respectfully,

                                                   MATTHEW PODOLSKY
                                                   Acting United States Attorney for the
                                                   Southern District of New York
                                                   Attorney for Defendants

                                             By:   Isl Rebecca S. Tinio
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GRANTED. The Court directs the parties to file a joint status update by May 6, 2025.
SO ORDERED.


                   PAUL A. ENGELMAYER!
                   United States District Judge

Dated: April 8, 2025
       New York, New York




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